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' . . D!S:

ROBERT GILL, et al.,
Plaintiffs,
vs.

Civ. No. 05-2265-D P

W.W. HEREI‘~'ITOI‘~'Il et al.,

\_¢\_¢vvvv\_r\.dv

Defendants.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S MOTION FOR EXTENSION
OF TIME TO FILE INITIAL DISCLOSURES

 

Before the court is plaintiffs' Motion for Extension of Time
to File Initial Disclosures, filed July 13, 2005. A review of
the record reveals that plaintiffs did not file a certificate of
consultation with their motion. Local Rule 7.2 requires that

“[a]ll motions . . . shall be accompanied by
a certificate of counsel . . . affirming
that, after consultation between the parties
to the controversy, they are unable to reach
an accord as to all issues or that all other
parties are in agreement with the action
requested by the motion.” Local Rule
7.2(a)(l)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion." Id.

Therefore, plaintiffs’ motion is DENIED, without prejudice.

Th!s document entered on the docket §§

with Rula 58 and/or 79(a) FRCP on

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Plaintiffs may renew their' motion. by refiling it with a
certificate of consultation in compliance with Local Rule 7.2.

IT IS SO ORDERED.

 

 

 

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TU PHAM
United States Magistrate Judge

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Date U

 

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This notice confirms a copy of the document docketed as number 21 in
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ESSEE

 

Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

1\/lemphis7 TN 38103

David P. KnoX

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/lemphis7 TN 38120

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/lemphis7 TN 38103

W. Michael Richards

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ

165 Madison Ave.
Ste. 2000
1\/lemphis7 TN 38103

Louis P. Britt

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/lemphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

